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 3 Fresno, CA 93721
 4 559.233.3333
 5 Attorney for Defendant
   JOSE MARIA VALENCIA-VALENCIA
 6
 7
 8               IN THE UNITED STATES DISTRICT COURT FOR THE
 9                       EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,     )   Case No. CR-F-04-5327 AWI
11                                 )
          Plaintiff,               )   STIPULATION TO CONTINUE
12                                 )   HEARING ON MOTION TO
                                   SUPPRESS
13        vs.                      )
                                   )
14   JOSE MARIA VALENCIA-VALENCIA, )   Date: 11-21-05
     et al.,                       )   Time: 9:00 a.m.
15                                 )   Room: 3
          Defendants.              )
16   ______________________________)
17
          It is stipulated and agreed between the parties that the
18
     hearing on Defendant Jose Maria Valencia-Valencia’s Motion to
19
     Suppress currently set for Monday, October 24, 2005 be continued to
20
     Monday, November 21, 2005 at 9:00 a.m. in Department 3.           Defendant
21
     agrees to continue to waive time until that hearing.
22
          I hereby agree to the above stipulation.
23
     Dated: 10-19-05
24
                                       s/J.M. Irigoyen
25                                     _________________________
                                         J.M. Irigoyen
26                                       Attorney for Defendant
                                       Jose Maria Valencia-Valencia
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 1        I hereby consent to the above stipulation.
 2 Dated: 10-19-05
 3                                     s/ Laurel Montoya
                                       _________________________
 4                                       Laurel Montoya
                                         Assistant U.S. Attorney
 5
     IT IS SO ORDERED.
 6
   Dated:    October 24, 2005                /s/ Anthony W. Ishii
 7 0m8i78                              UNITED STATES DISTRICT JUDGE
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